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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                                     Chapter 7

THE ART'INSTITUTE OF                                                       Case No. 18-11535(LSS)
PHILADELPHIA LLC, et al.,
                                                                           Jointly Administered
                                  Debtors.
                                                                           Re: Docket No.95


      PRELIMINARY OBJECTION OF GEORGE L.1ViILLER, CHAPTER 7
     TRUSTEE,TO MOTION OF U.S. BANK,NATIONAL ASSOCIATION TO
 ENFORCE STIPULATION AGAINST GEORGE L. MILLER,CHAPTER 7 TRUSTEE

           George L. Miller, chapter 7 trustee (the "Trustee")to the estates ofthe above-captioned

debtors (the "Debtors"), hereby objects (the "Objection") to the Motion of U.S. Bank, National

Association to Enforce Stipzrlation Against GeoNge L. Miller, Chapter 7 TNustee [Docket No. 95]

(the "Motion") of U.S. Bank National Association ("U.S. Bank") as administrative agent and

collateral agent under that certain Credit and Guaranty.Agreement, dated as of January 5, 2015

(as amended, restated, supplemented or otherwise modified from time to time, and including any

and all annexes, exhibits and schedules thereto, collectively, the "Credit Agreement"), by and

among Education Management II, LLC,Education Management Corporation, Education

Management Holdings II, LLC and certain subsidiaries, as Guarantors (collectively, the "Credit



 ~ The last four digits of the Debtors' taxpayer identification members are as follows: American Education Centers, Inc.(6160); Argosy Education
Group, Inc.(5674); Argosy University of California LLC (1273); Brown Mackie College -Tucson, Inc.(4601); Education Finance III LLC
(2533); Education Management LLC (6022); Education Management II LLC (2661); Education Management Corporation (9571); Education
Management Holdings II LLC (2529); Higher Education Services II LLC(3436); Miami International University of Art &Design, Inc.(1065);
South Education —Texas LLC(2573); South University of Florida, Inc.(9226); South University of Michigan, LLC(6655); South University of
North Carolina LLC (9113); South University of Ohio LLC (9944); South University of Virginia, Inc.(9263); South University, LLC (7090);
Stautzenberger College Education Corporation (4675); TAIC-San Diego, Inc.(1894); TAIL-San Francisco, Inc.(9487); The Art Institutes
International Minnesota, Inc.(6999); The Art Institute of Atlanta, LLC (1597); The Art Institute of Austin, Inc.(3626); The Art Institute of
California-Hollywood, Inc.(3289); The Art Institute of California-Inland Empire, Inc.(6775); The Art Institute of California -Los Angeles, Inc.
(4215); The Art Institute of California-Orange County, Inc.(6608); The Art Institute of California-Sacramento, Inc.(6212); The Art Institute of
Charleston, Inc.(6048); The Art Institute of Charlotte, LLC (4912); The Art Institute of Colorado, Inc.(3062); The Art Institute of Dallas, Inc.
(9012); The Art Institute of tort Lauderdale, Inc. (0255); The Art Institute of Houston, Inc.(9015); The Art Institute of Indianapolis, LLC(6913);
The Art Institute of Las Vegas, Inc.(6362); The Art Institute of Michigan, Inc.(8614); The Art Institute ofPhiladelphia LLC (7396); The Art
Institute of Pittsburgh LLC(7441); The Art Institute of Portland, Inc.(2215); The Art Institute ofRaleigh-Durham, Inc.(8031); The Art Institute
of St. Louis, Inc.(9555);'the Art Institute of San Antonio, Inc.(4394); The Art Institute of Seattle, Inc.(9614); The Art Institute of Tampa, Inc.
(6822); The Art Institute of Tennessee-Nashville, Inc.(5359); The Art Institute of Virginia Beach LLC (2784); The Art Institute of Washington,
Inc.(7043); The Art Institutes International II LLC (9270); The Illinois Institute of Art at Schaumburg, Inc.(3502); The Illinois Institute of Art,
Inc.(3500); The Institute of Post-Secondary Education, Inc.(0283); The New England Institute of Art, LLC (7798); The University of Sarasota,
Inc.(5558);Western State University of Southern California(3875).



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Party Debtors"). In further support of this Objection, the Trustee respectfully represents as

follows:

                                             INTRODUCTION2

        1.       Contrary to the spurious allegations made by U.S. Bank in the Objection, it is

U.S. Bank, not the Trustee, which refuses to comply with the Stipulation. Indeed, the Trustee, in

spite of his concerns over whether the Surety Collateral is Surrendered Collateral, was and

remains willing to sign the Turnover Direction so long as U.S. Bank complies with the heavily-

negotiated Stipulation.

        2.       The construct ofthe Stipulation is simple. Paragraph 6 of the Stipulation requires

that, within ten (10) business days of a written request, the Trustee "turn over to U.S. Bank all

Collateral (including any Surrendered Collateral) in the Trustee's possession." Stipulation, at ¶

6(iii)(emphasis added). In the event that U.S. Bank requires the Trustee's assistance in

collecting any Collateral not in the possession of the Trustee, paragraph 11 ofthe Stipulation

provides that U.S. Bank must request such assistance "in a writing that specifically references

this paragraph[11]." Id., at ~ 11.

        3.       Here, the Surety Collateral is unequivocally not in the Trustee's possession; as

U.S. Bank admits, it is in Wells Fargo's possession. Motion, at ¶ 3. U.S. Bank and Wells

Fargo—and not the Trustee—reached an agreement(the "Agreement") concerning the release of

the Surety Collateral in Wells Fargo's possession. Id. That bipartite Agreement requested the

Trustee's assistance with U.S. Bank's collecting the Surety Collateral, but U.S. Bank refuses to

comply with paragraph 11 of the Stipulation, which specifically contemplated a situation such as

this.




Z Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.

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        4.       The Trustee has proceeded in good faith with U.S. Bank concerning a consensual

stipulation resolving the issue raised in the Motion, both before and after the Motion was filed

and expected such a consensual resolution to be presented to the Court. See Docket No. 98

(referencing a to-be-filed stipulation). Despite having reached an agreement on changes to the

Turnover Direction and a proposed stipulation resolving the dispute, U.S. Bank sought to modify

the terms after the Trustee provided his signature pages. In fact, the Trustee has executed

provided U.S. Bank the signature page to the Turnover Direction on two separate occasions

(September 14 and September 17).3 Each time, U.S. Bank returned with further requirements for

the execution of the Turnover Direction by its clients. Simply put, U.S. Bank cannot take yes for

an answer. Thus, it is U.S. Bank that is refusing to comply with the terms ofthe Stipulation.

Therefore, the Trustee must now unfortunately object to the Motion.

                                     PRELIMINARY OBJECTION4

    A. Because the Trustee Does Not Possess
       the Surety Collateral, Paragraph 6 of the Stipulation is Inapplicable

                 The Motion relies solely on paragraph 6 of the Stipulation to come to the tortured

conclusion that the Trustee "refuses" to comply with the terms of the Stipulation. See Motion, at

¶ 27. But, by its plain terms, paragraph 6 ofthe Stipulation only applies to turnover of

Surrendered Collateral "in the Trustee's possession." Stipulation, at ¶ 6; see also Motion at ~ 2.

For numerous reasons, it is clear that the Surety Collateral is not "in the Trustee's possession."

        6.       First, as U.S. Bank admits, the Surety Collateral is held by Wells Fargo in a trust

account, not by the Trustee. Motion, at ¶ 3. Second, as U.S. Bank also admits,"the Credit Party

Debtors' interest in the Surety Collateral is not property of the Credit Party Debtors' estates."

Id., at ¶ 23. Third, even if the Credit Party Debtors did have an interest in the Surety Collateral,



3 The Trustee executed a revised version of the Turnover Direction to be held in escrow and objects to the form of
Turnover Direction attached to the Motion.

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 the Stipulation provided for relief from the automatic stay such that the Trustee has abandoned

 the Surety Collateral and U.S. Bank can realize possession thereon without any need for the

  Trustee or the Credit Party Debtors to become involved. Stipulation, at ¶ 10

          7.       The only argument propounded by U.S. Bank is that the Trustee is in

 "constructive possession" of the Surety Collateral "because Wells Fargo will not release the

  Surety Collateral without the Trustee executing the Turnover Direction." Motion, at ¶ 26. This

  argument is meritless and is a contradiction in and of itself. First, by arguing that the Trustee is

 "in possession" ofthe Surety Collateral, U.S. Bank contradicts its own admission that the Surety

  Collateral is not property of the Credit Party Debtors' estates. See, e.g., In re Mays, 85 B.R. 955,

  960-61 (Bankr. E.D. Pa. 1988)(describing a "possessory interest" as "clearly" property ofthe

  estate); see also 11 U.S.C. § 541(a)(stating that property ofthe estate is "comprised of...all

  legal or equitable interests of the debtor in property"). To that end, the Motion is procedurally

  improper and the relief sought must be commenced in an adversary proceeding; U.S. Bank is

  seeking a declaratory judgment from the Court that the estate has a "constructive possessory"

  interest in the Surety Collateral, which could only be brought through an adversary proceeding.

  Fed. R. Bankr. P. 7001(2),(9); see also In Ne Carels, 2009 Bankr. LEXIS 2633, at *9(Bankr.

  E.D. Pa. Mar. 19, 2009)("a declaratory judgment concerning an interest in property should be

  sought by adversary proceeding and not via motion as a contested matter").

           8.      Further, whether or not the Surety Collateral belongs to U.S. Bank is a question of

  state law. U.S. Bank could have commenced a state court proceeding seeking turnover ofthe

  Surety Collateral against Wells Fargo but, instead, came to a two-party agreement whereby

  Wells Fargo agreed to release the Surety Collateral to U.S. Bank. However, Wells Fargo, and

  not any order of this Court or state or federal law, appears to "require" the Trustee to sign a



'The Trustee reserves all rights to serve discovery on U.S. Bank with respect to the Motion and to supplement this

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Turnover Direction, presumably in an abundance of caution to protect itself from any liability.

The fact that the Trustee will only sign the Turnover Direction in compliance with paragraph 11

ofthe Stipulation does not somehow make the Trustee in "constructive possession" of the Surety

Collateral, and U.S. Bank cites no legal authority to support such a proposition. Indeed, the

Trustee's execution of the Turnover Direction is not legally required; if U.S. Bank commenced a

state court action and received a turnover order, the Trustee would never have to be involved

with the process. It is only because an agreement to which the Trustee is not a party (but U.S.

Bank is) requests the Trustee's assistance that the Turnover Direction is even at issue.

    B. U.S. Bank Refuses to Comply With Paragraph 11 of the Stipulation

        9.       The Stipulation contemplates a mechanism to solve the instant dispute, but U.S.

Bank now refuses to comply with such construct. Paragraph 11 of the Stipulation provides that

U.S. Bank

        may request that the Trustee collect, on behalf ofthe Agent or Lenders, any
        Collateral (including any Surrendered Collateral), or proceeds thereof(such
        Collateral, the "Collection Collateral") in a writing that specifically references
        this paragraph and identifies the Collection Collateral and to the extent that the
        Agent and the Trustee agree on the terms and conditions relating to such
        collection, the Trustee shall be entitled to collect the Collection Collateral in
        accordance with such terms and conditions.

Stipulation, at ¶ 11. In other words, to the extent the Trustee is required to assist with the

collection of Surrendered Collateral not in his possession, U.S. Bank is required to request such

assistance in writing (and with specific reference to paragraph 11), and such collection will be

subject to the terms and conditions agreed to by the parties.

        10.      From the outset, the Trustee has been willing to sign the Turnover Direction, but

only in compliance with paragraph 11 of the Stipulation and only in a manner that protects the

Credit Party Debtors' estates. The Trustee has a fiduciary obligation to protect the assets of the



Objection in accordance therewith.

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Debtors' estates. See, e.g., In re MushNoom TNansp. Co., 382 F.3d 325, 339(3d Cir. 2004). U.S.

Bank has provided no evidence either that the Surety Collateral is Surrendered Collateral or that

any other party may claim an interest in the Surety Collateral such that the Trustee's execution of

a Turnover Direction would not subject the Trustee and the Credit Party Debtors' estates to

liability. Accordingly, it is eminently reasonable for the Trustee and the Credit Party Debtors'

estates to receive protections as contemplated by paragraph 11 ofthe Stipulation in exchange for

the requested (but not required) execution of the Turnover Direction.

    C. U.S. Bank is Not Entitled to Fees and Costs

         11.      As set forth above,the Trustee has unequivocally not failed to comply with any

Court order. Indeed, the Trustee has insisted on actual compliance with the Stipulation and

Order related thereto, which U.S. Bank has refused to accept. Because the Trustee insists upon

strict compliance with the Stipulation (which U.S. Bank refuses to do), to the extent any fees and

costs are warranted, such fees and costs should be awarded to the Trustee, not to U.S. Bank.

Accordingly, the Trustee reserves all rights to seek reimbursement of fees and costs associated

with the Motion pursuant to Bankruptcy Rule 8020.

         WHEREFORE,the Trustee respectfully requests that the Court deny the Motion.

Dated: September 18, 2019                      PACHULSKI STANG ZIEHL &JONES LLP

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